                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                                 July 9, 2015
                              No. 10-14-00217-CR
                           HOBART T. RICHARDSON, JR.
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                        From the 54[th] District Court
                            McLennan County, Texas
                          Trial Court No. 2013-949-C2
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record as relevant to the issue raised in this proceeding and finds that reversible error is presented.  Accordingly, the trial court's judgment as to Court II signed on July 17, 2014, is reversed and remanded to the trial court for further proceedings.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.	
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
							Nita Whitener, Deputy Clerk

